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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA,
       Plaintiff,
                                                       No. 23-CV-1999-RDB
       v.

CARAHSOFT TECHNOLOGY CORP.,
       Defendant



                          MEMORANDUM OPINION AND ORDER

       This case arises on a petition by the government to enforce a Civil Investigative Demand

(“CID”) directed to Carahsoft Technology Corp. (“Carahsoft”). See ECF Nos. 1 & 3 (petition).

The CID, dated May 6, 2022, contains requests for production of documents and interrogatories.

ECF No. 1-4 at 10-13. This case has been referred to me for all discovery and related scheduling

matters. ECF No. 21.

       The parties appeared on February 15, 2024, for a telephonic and discovery conference,

following submission of status reports, ECF No. 31, and pre-conference letter briefs, ECF Nos.

33-35, regarding disputes over the adequacy of Carahsoft’s collection and production of

documents, and whether Carahsoft’s certifications accompanying its document productions and

interrogatory answers complied with the certification requirements of 31 U.S.C. § 3733(f)(1) and

(g).

                              Document collection and production

       As for the adequacy of Carahsoft’s collection and production of documents, although the

parties have met and conferred on a number of occasions, and although Carahsoft states it has

produced approximately 332,000 documents, ECF No. 31 at 7, the parties have yet to engage in

negotiations over the particular protocol Carahsoft has used or will use to identify potentially
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responsive documents. On one hand, Carahsoft states it is uncomfortable “stat[ing] that all of the

documentary material required by the demand and in the possession, custody, or control of

[Carahsoft] has been produced,” see 31 U.S.C. § 3733(f)(1), where as to at least some of the

document requests Carahsoft states it believes it has produced all documents in its possession,

custody, or control, but the government construes the scope of its request(s) differently. On the

other hand, without more information regarding, for example, the search terms and timeframes

Carahsoft used for particular custodians, the government is uncomfortable relying on Carahsoft’s

assurances that it has taken reasonable efforts to identify and produce responsive documents.

Furthermore, although the parties have discussed potential accommodations or modifications to

the terms of the CID, it does not appear those agreements (if any) have been memorialized in

writing.

       Accordingly, as discussed, the parties shall meet and confer and endeavor to reach

agreement regarding a protocol for identifying whether additional documents exist that are

responsive to the CID requests. This will include good faith and meaningful conferral regarding

search terms and other aspects of a review protocol. This should include exchanges of search

terms and custodians, and potentially information regarding the volume of documents that “hit”

on particular search terms, so as to permit concrete and meaningful compromise with respect to

searches that “hit” on volumes of documents the review burden for which may be

disproportionate to the potential relevance of documents responsive to particular requests. See 31

U.S.C. § 3733(j)(6) (“The Federal Rules of Civil Procedure shall apply to any petition under this

subsection, to the extent that such rules are not inconsistent with the provisions of this section.”);

Fed. R. Civ. P. 26(b)(1) (“Unless otherwise limited by court order, the scope of discovery is as

follows: Parties may obtain discovery regarding any nonprivileged matter that is relevant to any



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party’s claim or defense and proportional to the needs of the case, considering the importance of

the issues at stake in the action, the amount in controversy, the parties’ relative access to relevant

information, the parties’ resources, the importance of the discovery in resolving the issues, and

whether the burden or expense of the proposed discovery outweighs its likely benefit.”). Insofar

as Carahsoft has previously withheld, on work product grounds, information related to search

protocols such as search terms and hit reports, it has withdrawn such objections.

                               Document production certification

       Carahsoft’s document production thus far has been accompanied by a certification that

reads as follows, and was signed electronically by Carahsoft’s counsel, Mr. Conway:

               I hereby certify that, to the best of my knowledge and belief, the
               materials included in these productions are genuine and are in
               substantial compliance with the documents requested in Civil
               Investigative Demand No. 22-498, as clarified in Blank Rome’s
               discussions with DOJ.

       The government contends that this certification does not comply with 31 U.S.C. §

3733(f)(1), which requires that any “production of documentary material in response to a civil

investigative demand” be “made under a sworn certificate,” and that such certificate “shall state

that all of the documentary material required by the demand and in the possession, custody, or

control of the person to whom the demand is directed has been produced and made available to

the false claims law investigator identified in the demand.” The government takes issue

principally with (1) the certification’s statement that Carahsoft is in “substantial” compliance

with the CID, as opposed to having produced “all of the documentary material required by the

demand and in the possession, custody, or control of [Carahsoft],” and (2) the certification’s

statement that such compliance is consistent with “Blank Rome’s discussions with DOJ,” where

discussions remain ongoing with respect to the scope of production.



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       In light of the ongoing and incomplete nature of the parties’ negotiations over a document

collection protocol, the disputes over the propriety of Carahsoft’s document certification are

premature. At the appropriate time after the parties have worked out a protocol for completing

production of documents, and following meaningful efforts to meet and confer regarding any

modifications or clarifications to Carahsoft’s document production certification, the government

may file a motion on that issue if necessary, to be briefed consistent with the standard rules

governing motions under this Court’s Local Rules.

                                   Interrogatory certification

       The parties also dispute the propriety of the certification that has accompanied

Carahsoft’s answers to the CID interrogatories, signed by Patrick Gallagher, who is a Vice

President at Carahsoft. Mr. Gallagher’s certification reads as follows:

               I hereby certify that I have reviewed the January 19, 2024 responses
               to the Interrogatories presented in the Civil Investigative Demand
               No. 22-498, and that, to the best of my knowledge, the responses are
               true and correct based on information and knowledge in the
               possession, custody, and control of Carahsoft.

               I certify under penalty of perjury that the foregoing is true and
               correct.

ECF No. 31-4, Ex. 6.

       The government contends this certification does not comply with 31 U.S.C. § 3733(g),

which provides as follows:

               Each interrogatory in a civil investigative demand served under this
               section shall be answered separately and fully in writing under oath
               and shall be submitted under a sworn certificate, in such form as the
               demand designates, by—

                       (1) in the case of a natural person, the person to whom the
                       demand is directed, or

                       (2) in the case of a person other than a natural person, the

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                      person or persons responsible for answering each
                      interrogatory.

               If any interrogatory is objected to, the reasons for the objection shall
               be stated in the certificate instead of an answer. The certificate shall
               state that all information required by the demand and in the
               possession, custody, control, or knowledge of the person to whom
               the demand is directed has been submitted. To the extent that any
               information is not furnished, the information shall be identified and
               reasons set forth with particularity regarding the reasons why the
               information was not furnished.

       The government has expressed three principal concerns about this certification. First, the

government contends that the certification does not satisfy the requirement that Carahsoft’s

interrogatory certification be signed by “the person or persons responsible for answering each

interrogatory.” 31 U.S.C. § 3733(g). The government’s contention seems to be that (a) the

interrogatory answers should be certified by each person or persons “responsible” for preparing

the interrogatory answers, and (b) because Mr. Gallagher does not attest that he personally was

responsible for preparing the written answers, the certification does not comply with § 3733(g).

But here, Mr. Gallagher is the person whom Carahsoft has authorized to “answer[]” the

interrogatories on its behalf, which is what § 3733(g)(2) provides. As Mr. Gallagher certified, he

“reviewed” the interrogatory answers and then, on behalf of Carahsoft—under penalty of

perjury—attested that the information provided is true and correct (to the best of his knowledge

based on the information and knowledge in Carahsoft’s possession, custody, and control).

Nothing in § 3733(g) requires than an interrogatory answer signatory certify that he or she

personally was responsible for drafting such answers, and the government has not cited any other

authority for such a requirement.

       Second, the government takes issue with Carahsoft qualifying Mr. Gallagher’s

certification as limited to the best of his knowledge “based on information and knowledge in the



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possession, custody, and control of Carahsoft.” It seems the government’s concerns are that (a)

Carahsoft would artificially limit the information available to Mr. Gallagher, such that his

knowledge would be more limited than Carahsoft’s knowledge, or (b) limiting the information in

the interrogatory answers to Carahsoft’s knowledge would not necessarily encompass

communications between Carahsoft personnel and non-Carahsoft personnel. As to the former

concern, an entity necessarily speaks through its agents, and here Carahsoft has authorized Mr.

Gallagher to speak for it. The government has not articulated how else to apply the statutory

within-the-CID-recipient’s-knowledge standard to a corporate CID recipient, let alone that the

Carahsoft formulation is inconsistent with that standard. As to the latter concern, insofar as

information about such communications is within Carahsoft’s “possession, custody, control, or

knowledge,” 31 U.S.C. § 3733(g)—or, as Carahsoft puts it, within the “information and

knowledge in the possession, custody, and control of Carahsoft,” ECF No. 31-4, Ex. 6—

Carahsoft has certified through Mr. Gallagher that, unless objected to, such information has been

provided.

       Third, the government challenges the format of Mr. Gallagher’s signature, which appears

as follows: “/s/ Patrick Gallagher.” The government concedes that § 3733(g) does not require a

“wet” signature, and that instead an electronic signature qualifies. ECF No. 35 at 2. It suggests

that Mr. Gallagher’s signature should either (a) be a scanned version of a “wet” signature, or (b)

accomplished using a system such as Docusign. ECF No. 35 at 2. The government, however,

cites no authority to suggest that the format of Mr. Gallagher’s electronic signature fails to

satisfy the statutory requirements. 1


1
 The government points to a page on the Court’s website pertaining to “Non-Attorney Signature
Formats” (https://www.mdd.uscourts.gov/content/non-attorney-signature-formats). See ECF No.
35 at 2. But it is the False Claims Act (“FCA”) that controls, and in any event, with the

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       For these reasons, the government has not established any grounds for compelling a

modification of Carahsoft’s interrogatory certification.

                                         CONCLUSION

       As discussed, it is ORDERED that the parties shall appear for another telephonic status

conference on Wednesday, March 6, 2024, at 10:00 a.m. Call-in information for the call is 1-

650-479-3207; Access code: 2303 914 8162.



Date: February 27, 2024                                            /s/
                                                     ________________________
                                                     Adam B. Abelson
                                                     United States Magistrate Judge




government having conceded that a physical (i.e. “wet”) signature is not required by the FCA,
see id., it is unclear the authority on which the government contends this Court could compel
compliance with the Court’s signature format guidance in the context of a certification of
interrogatory compliance under the FCA.


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